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 13   Counsel for Defendant listed on next page
 14
 15
 16                  IN THE UNITED STATES DISTRICT COURT
 17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18
 19   MONSTER ENERGY COMPANY,               )   Case No. 5:17-CV-00548-CBM-RAO
      a Delaware corporation,               )
 20                                         )   REVISED JOINT [PROPOSED]
                  Plaintiff,                )   AGREED-UPON SET OF JURY
 21                                         )   INSTRUCTIONS
            v.                              )
 22                                         )
                                            )   Hon. Consuelo B. Marshall
      INTEGRATED SUPPLY                     )
 23   NETWORK, LLC, a Florida limited
      liability company,                    )
 24                                         )
                  Defendant.                )
 25                                         )
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  1         Plaintiff Monster Energy Company (“Monster”) and Defendant Integrated
  2   Supply Network, LLC (“ISN”) hereby submit the attached agreed upon joint
  3   [proposed] jury instructions.1
  4
  5                                    Respectfully submitted,
                                       KNOBBE, MARTENS, OLSON & BEAR, LLP
  6
  7
  8   Dated: November 13, 2018         By: /s/ Joseph R. Re
  9                                       Joseph R. Re
                                          Lynda J. Zadra-Symes
 10                                       Brian C. Horne
 11                                       Marko R. Zoretic
                                          Jason A. Champion
 12
 13                                    Attorneys for Plaintiff,
                                       MONSTER ENERGY COMPANY
 14
 15                                    MADEL PA
 16
 17   Dated: November 13, 2018         By: /s/ Cassandra B. Merrick (with permission)
 18                                        Christopher W. Madel
                                           Jennifer M. Robbins
 19
                                           Cassandra B. Merrick
 20
                                          STANDLEY LAW
 21
                                          Jeffrey S. Standley
 22                                       Melissa A. Rogers McCurdy
                                          F. Michael Speed, Jr.
 23
 24                                    Attorneys for Defendant,
                                       INTEGRATED SUPPLY NETWORK, LLC
 25
 26
            1
               By including Instruction No. 24 regarding punitive damages in this
 27   agreed upon joint [proposed] jury instructions, ISN does not waive its objection
      to instructing the jury on punitive damages.
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  1                      INDEX OF JURY INSTRUCTIONS
  2
  3     No.                  Title                    Source             Page
  4      2    Definition–Trademark           Ninth Circuit Manual of      3
  5                                          Model Civil Jury
  6                                          Instructions – No. 15.2
  7      3    Definition–Trade Dress         Ninth Circuit Manual of      7
  8                                          Model Civil Jury
  9                                          Instructions – No. 15.3
 10      4    Trademark Liability–Theories   Ninth Circuit Manual of      9
 11           and Policies                   Model Civil Jury
 12                                          Instructions – No. 15.5
 13      6    Infringement—Elements and      Ninth Circuit Manual of      11
              Burden of Proof—Trademark      Model Civil Jury
 14                                          Instructions – No. 15.6
 15      7    Infringement—Elements and      Ninth Circuit Manual of      13
              Burden of Proof—Trade          Model Civil Jury
 16           Dress                          Instructions – No. 15.7
 17      8    Infringement—Elements—         Ninth Circuit Manual of      15
              Presumed Validity and          Model Civil Jury
 18           Ownership—Registered           Instructions – No. 15.8
 19           Trademark
 20      9    Infringement—Elements—         Ninth Circuit Manual of      18
 21           Validity—Unregistered Marks Model Civil Jury
 22                                          Instructions – No. 15.9
        12    Infringement—Elements—         Ninth Circuit Manual of      21
 23
              Validity—Distinctiveness—      Model Civil Jury
 24           Secondary Meaning              Instructions – No. 15.11
        14    Infringement—Likelihood of     Ninth Circuit Manual of      25
 25
              Confusion—Factors—             Model Civil Jury
 26           Sleekcraft Test                Instructions – No. 15.18;
                                             Dkt. No. 202 at 5 n.3
 27
                                             (citing Rearden LLP v.
 28                                          Rearden Commerce, 683
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  1                                        F.3d 1190, 1212 (9th Cir.
                                           2012); Waits v. Frito-
  2                                        Lay, 978 F.2d 1093,
  3                                        1110 (9th Cir. 1992))
        18    Willful Infringement         DC Comics v. Towle,          29
  4                                        802 F.3d 1012, 1026 (9th
  5                                        Cir. 2015); Fishman
                                           Transducers v. Paul, 684
  6                                        F.3d 187, 192-93 (1st Cir.
  7                                        2012); Coach, Inc. v.
                                           Celco Customs Services
  8                                        Co., 2014 WL 12573411
  9                                        at *19-*20 (C.D. Cal.
                                           June 5, 2014);
 10                                        Hydramedia Corp. v.
 11                                        Hydra Media Grp., Inc.,
                                           2008 WL 11336118, at
 12                                        *3 (C.D. Cal. Dec. 29,
 13                                        2008), aff’d, 392 F.
                                           App’x 522 (9th Cir.
 14                                        2010)
 15     20    Reasonable Royalty           AIPLA Model Patent           31
 16                                        Jury Instructions, 10.2
 17                                        (revised to apply to
 18                                        trademark context)
 19     21    Reasonable Royalty           AIPLA Model Patent           33
 20           Definition                   Jury Instructions,
 21                                        10.2.5.2 (revised to apply
 22                                        to trademark context);
 23                                        Apple Inc. et al v.
 24                                        Motorola Inc., et al., 757
 25                                        F.3d 1286 (Fed. Cir.
 26                                        2014); LaserDynamics,
 27                                        Inc. v. Quanta Computer,
 28
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  1                                        Inc. et al, 694 F.3d 51,
  2                                        75 (Fed. Cir. 2012);
  3                                        Uniloc USA, Inc. v.
  4                                        Microsoft Corp., 632
  5                                        F.3d 1292, 1311 (Fed.
  6                                        Cir. 2011); Fujifilm
  7                                        Corp. v. Benun, 605 F.3d
  8                                        1366, 1372 (Fed. Cir.
  9                                        2010); Lucent Techs.,
 10                                        Inc. v. Gateway, Inc.,
 11                                        580 F.3d 1301, 1324-25
 12                                        (Fed. Cir. 2009);
 13                                        Mahurkar v. C.R. Bard,
 14                                        Inc., 79 F.3d 1572, 1579
 15                                        (Fed. Cir. 1996);
 16                                        Maxwell v. J. Baker,
 17                                        Inc., 86 F.3d 1098, 1109-
 18                                        10 (Fed. Cir. 1996); Rite-
 19                                        Hite Corp. v. Kelley Co.,
 20                                        56 F.3d 1538, 1554 (Fed.
 21                                        Cir. 1995) (en banc);
 22                                        Wang Labs., Inc. v.
 23                                        Toshiba Corp., 993 F.2d
 24                                        858, 870 (Fed. Cir. 1993)
 25     23    Defendant’s Profits          Ninth Circuit Manual of      35
                                           Model Civil Jury
 26                                        Instructions – No. 15.29
 27     24    Punitive Damages             Cal. Civ. Code § 3294;       37
                                           Ninth Circuit Manual of
 28
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  1                                        Model Civil Jury
                                           Instructions – Nos. 1.7
  2                                        and 5.5 (modified)
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  1                            JURY INSTRUCTION NO. 2
  2                         (DEFINITION—TRADEMARK)
  3
  4         A trademark is any word, name, symbol, device, or any combination
  5   thereof, used by a person to identify and distinguish that person’s goods or
  6   services from those of others and to indicate the source of the goods or services.
  7         A person who uses the trademark of another may be liable for damages.
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  1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
  2   15.2
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   1                            JURY INSTRUCTION NO. 3
   2                          (DEFINITION–TRADE DRESS)
   3
   4         Trade dress is the non-functional physical detail and design of a product
   5   or its packaging which indicates or identifies the source of the products or
   6   services and distinguishes them from the products or services of others.
   7
   8         Trade dress is the product’s total image and overall appearance, and may
   9   include features such as size, shape, color, color combinations, texture, or
  10   graphics. In other words, trade dress is the form in which a person presents a
  11   product or service to the market, its manner of display.
  12
  13         A person who uses the trade dress of another may be liable for damages.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
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   1                            JURY INSTRUCTION NO. 4
   2          (TRADEMARK LIABILITY—THEORIES AND POLICIES)
   3
   4         The trademark laws balance three often-conflicting goals: (1) protecting
   5   the public from being misled about the nature and source of goods and services,
   6   so that the consumer is not confused or misled in the market; (2) protecting the
   7   rights of a business to identify itself to the public and its reputation in offering
   8   goods and services to the public; and (3) protecting the public interest in fair
   9   competition in the market.
  10
  11         The balance of these policy objectives vary from case to case, because
  12   they may often conflict. Accordingly, each case must be decided by examining
  13   its specific facts and circumstances, which you are to judge.
  14
  15         In these instructions, I will identify types of facts you are to consider in
  16   deciding if ISN is liable to Monster Energy for violating the trademark law.
  17   These facts are relevant to whether the defendant is liable for infringing
  18   plaintiff’s registered or unregistered trademark rights or plaintiff’s trade dress,
  19   by using a trademark or trade dress in a manner likely to cause confusion among
  20   consumers.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.5.
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   1
                               JURY INSTRUCTION NO. 6
   2
            (INFRINGEMENT—ELEMENTS AND BURDEN OF PROOF—
   3
                                      TRADEMARK)
   4
   5
             On Monster Energy’s claims for trademark infringement, Monster Energy
   6
       has the burden of proving each of the following elements by a preponderance of
   7
       the evidence:
   8
   9
             1. That Monster Energy’s trademarks are valid, protectable trademarks;
  10
  11
             2. That Monster Energy owns these trademarks; and
  12
  13
             3. That ISN used these trademarks or similar trademarks without the
  14
             consent of Monster Energy in a manner that is likely to cause confusion
  15
             among ordinary consumers as to the source, sponsorship, affiliation, or
  16
             approval of the goods.
  17
  18
             If you find that each of the elements on which Monster Energy has the
  19
       burden of proof has been proved for the Monster trademarks, you should answer
  20
       Questions # 1 and 3 on the Verdict Form for Monster Energy. If you find that
  21
       each of the elements on which Monster Energy has the burden of proof has been
  22
       proved for the Beast trademarks, you should answer Question # 5 on the Verdict
  23
       Form for Monster Energy. If, on the other hand, Monster Energy has failed to
  24
       prove any of these elements for the Monster trademarks or the Beast trademarks,
  25
       your answer should be for ISN with respect to the applicable trademarks.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.6.
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   1                            JURY INSTRUCTION NO. 7
       (INFRINGEMENT—ELEMENTS AND BURDEN OF PROOF—TRADE
   2
                                            DRESS)
   3
   4
              On Monster Energy’s claim for trade dress infringement, Monster Energy
   5
       has the burden of proving by a preponderance of the evidence each of the
   6
       following elements:
   7
   8
              1. That the claimed Trade Dress is distinctive;
   9
  10
              2. That Monster Energy owns this Trade Dress;
  11
  12
              3. That the Trade Dress asserted by Monster Energy is nonfunctional,
  13
                 which the parties agree is satisfied in this case; and
  14
  15
              4. That ISN used trade dress similar to the Trade Dress asserted by
  16
                 Monster Energy without the consent of Monster Energy in a manner
  17
                 that is likely to cause confusion among ordinary consumers as to the
  18
                 source, sponsorship, affiliation, or approval of ISN’s goods.
  19
  20
              If you find that each of the elements on which Monster Energy has the
  21
       burden of proof has been proved, you should answer Questions #6 and 7 on the
  22
       Verdict Form for Monster Energy. If, on the other hand, Monster Energy has
  23
       failed to prove any of these elements, you should answer Questions #6 and 7 for
  24
       ISN.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.7.
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   1                            JURY INSTRUCTION NO. 8
           (INFRINGEMENT—ELEMENTS—PRESUMED VALIDITY AND
   2
                      OWNERSHIP—REGISTERED TRADEMARK)
   3
   4
              I gave you instruction number 6 that requires Monster Energy to prove by
   5
       a preponderance of the evidence that its trademarks are valid and protectable
   6
       and that Monster Energy owns the trademarks. A valid trademark is a word,
   7
       name, symbol, device, or any combination of these, that indicates the source of
   8
       goods or services and distinguishes those goods or services from the goods or
   9
       services of others. A trademark becomes protectable after it is used in
  10
       commerce.
  11
  12
              One way for Monster Energy to prove trademark validity is to show that
  13
       the trademark is registered. An owner of a trademark may obtain a certificate of
  14
       registration issued by the United States Patent and Trademark Office and may
  15
       submit that certificate as evidence of the validity and protectability of the
  16
       trademark and of the certificate holder’s ownership of the trademark covered by
  17
       that certificate.
  18
  19
              Exhibits 1000A through 1013A, 1023A, 1034A through 1037A, and
  20
       1043A are certificates of registration from the United States Patent and
  21
       Trademark Office. They were submitted by Monster Energy as proof of the
  22
       validity of the trademarks and that Monster Energy owns the trademarks.
  23
  24
              The facts recited in these certificates are that Monster Energy owns valid
  25
       trademark rights in each of the trademarks listed in the registrations.
  26
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   1         In this case, there is no dispute that the following Exhibits are
   2   registrations that are “incontestable” under the trademark laws:
   3              Exhibit No.       Registration No.      Registration Date
   4                1001A              3,044,315            Jan. 17, 2006
   5                1002A              3,057,061            Feb. 7, 2006
   6                1003A              3,908,601            Jan. 18, 2011
   7                1004A              3,914,828            Feb. 1, 2011
   8                1006A              3,908,600            Jan. 18, 2011
   9                1009A              3,740,050            Jan. 19, 2010
  10                1010A              3,044,314            Jan. 17, 2006
  11                1011A              3,134,842           Aug. 29, 2006
  12                1012A              4,036,680            Oct. 11, 2011
  13                1013A              4,036,681            Oct. 11, 2011
  14                1034A              3,134,841           Aug. 29, 2006
  15                1037A              2,769,364           Sep. 30, 2003
  16
  17
             This means that Monster Energy’s registrations of these trademarks are
  18
       conclusive evidence of Monster Energy’s ownership of these trademarks and
  19
       that the trademarks are valid and protectable. I instruct you that for purposes of
  20
       Instruction 6, you must find that Monster Energy owns these trademarks and
  21
       that these trademarks are valid and protectable.
  22
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.8.
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   1                            JURY INSTRUCTION NO. 9
   2      (INFRINGEMENT—ELEMENTS—VALIDITY—UNREGISTERED
   3                                         MARKS)
   4
   5         Monster Energy contends that it has trademark rights in the word
   6   “Monster” and in the Trade Dress asserted by Monster Energy that I described
   7   earlier, neither of which is federally registered. Unregistered trademarks and
   8   trade dress can be valid and provide the owner with the exclusive right to use
   9   that trademark or trade dress. Instructions 6 and 7 require Monster Energy to
  10   prove by a preponderance of the evidence that the word “Monster” is a valid
  11   trademark and that the Trade Dress asserted by Monster Energy is a valid trade
  12   dress. A valid trademark or trade dress is a word, name, symbol, device, or any
  13   combination of these items that is either:
  14
  15         1. inherently distinctive; or
  16
  17         2. descriptive, but has acquired a secondary meaning.
  18
  19         Only a valid trademark or trade dress can be infringed. Only if you
  20   determine Monster Energy proved by a preponderance of the evidence that the
  21   word “Monster” is a valid trademark should you consider whether Monster
  22   Energy owns it or whether ISN’s actions infringed it. Similarly, only if you
  23   determine that Monster Energy proved by a preponderance of the evidence that
  24   the Trade Dress asserted by Monster Energy is a valid trade dress should you
  25   consider whether Monster Energy owns it or whether ISN’s actions infringed it.
  26
  27         Only if you determine that the word “Monster” or the Trade Dress
  28   asserted by Monster Energy is not inherently distinctive should you consider
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   1   whether they are descriptive but became distinctive through the development of
   2   secondary meaning, as I will direct in Instruction 12.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
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   1                           JURY INSTRUCTION NO. 12
   2   (INFRINGEMENT—ELEMENTS—VALIDITY—DISTINCTIVENESS—
   3                               SECONDARY MEANING)
   4
   5         If you determined in Instruction 11 that Monster Energy’s claimed
   6   unregistered “Monster” trademark or claimed trade dress are descriptive, you
   7   must consider the recognition that the mark has among prospective consumers
   8   in order to determine whether it is valid and protectable even though it is
   9   descriptive. This market recognition is called the “secondary meaning” of the
  10   trademark or trade dress.
  11
  12         A word or a trade dress acquires a secondary meaning when it has been
  13   used in such a way that its primary significance in the minds of the prospective
  14   consumers is not the product or service itself, but the identification of the
  15   product or service with a single source, regardless of whether consumers know
  16   who or what that source is. You must find that the preponderance of the
  17   evidence shows that a significant number of the consuming public associates the
  18   trademark or trade dress with a single source, in order to find that it has acquired
  19   secondary meaning.
  20
  21         When you are determining whether a trademark or trade dress has
  22   acquired a secondary meaning, consider the following factors:
  23
  24         (1)    Consumer Perception. Whether the people who purchase the
  25                product or service that bears the claimed trademark or trade dress
  26                associate the trademark or trade dress with Monster Energy;
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   1         (2)   Advertisement. To what degree and in what manner Monster
   2               Energy may have advertised under the claimed trademark or
   3               claimed trade dress;
   4
   5         (3)   Demonstrated Utility. Whether Monster Energy successfully used
   6               this trademark or trade dress to increase the sales of its products or
   7               services;
   8
   9         (4)   Extent of Use. The length of time and manner in which Monster
  10               Energy used the claimed trademark or claimed trade dress;
  11
  12         (5)   Exclusivity. Whether Monster Energy’s use of the claimed
  13               trademark or claimed trade dress was exclusive;
  14
  15         (6)   Copying. Whether ISN intentionally copied Monster Energy’s
  16               trademark or trade dress; and
  17
  18         (7)   Actual Confusion. Whether ISN’s use of a similar trademark or
  19               trade dress has led to actual confusion among a significant number
  20               of consumers.
  21
  22         The presence or absence of any particular factor should not necessarily
  23   resolve whether the trademark or trade dress has acquired secondary meaning.
  24
  25         Descriptive trademarks and trade dress are protectable only to the extent
  26   you find they acquired distinctiveness through secondary meaning by the public
  27   coming to associate the trademark or trade dress with a particular source.
  28   Descriptive trademarks and trade dress are entitled to protection only as broad
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   1   as the secondary meaning they have acquired, if any. If they have acquired no
   2   secondary meaning, they are entitled to no protection and cannot be considered
   3   a valid trademark or trade dress.
   4
   5         Monster Energy has the burden of proving that its “Monster” trademark
   6   and the Trade Dress asserted by Monster Energy have acquired a secondary
   7   meaning. ISN has the burden of proving that the registered trademarks in this
   8   case lack a secondary meaning.
   9
  10         The mere fact that Monster Energy is using a particular trademark or
  11   trade dress, or that Monster Energy began using it before ISN, does not mean
  12   that the trademark or trade dress has acquired secondary meaning. There is no
  13   particular length of time that a trademark or trade dress must be used before it
  14   acquires a secondary meaning.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.11.
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   1                             JURY INSTRUCTION NO. 14
   2     (INFRINGEMENT—LIKELIHOOD OF CONFUSION—FACTORS—
   3                                SLEEKCRAFT TEST)
   4
   5         You must consider whether the defendant’s use of a trademark or trade
   6   dress is likely to cause confusion about the source or affiliation of Monster
   7   Energy’s or ISN’s goods or services. The likelihood of confusion factors are the
   8   same for determining both trademark and trade dress infringement.
   9
  10         I will suggest some factors you should consider in deciding this. The
  11   presence or absence of any particular factor that I suggest should not necessarily
  12   resolve whether there was a likelihood of confusion, because you must consider
  13   all relevant evidence in determining this. As you consider the likelihood of
  14   confusion you should examine the following:
  15
  16         (1)    Strength or Weakness of Monster Energy’s Marks or Trade Dress.
  17                The more the consuming public recognizes Monster Energy’s
  18                trademarks or trade dress as an indication of origin of Monster
  19                Energy’s goods, the more likely it is that consumers would be
  20                confused about the source or affiliation of ISN’s goods if ISN uses
  21                a similar trademark or similar trade dress.
  22
  23         (2)    ISN’s Use of the Mark or Trade Dress. If ISN and Monster Energy
  24                use their trademarks and trade dress on the same, related, or
  25                complementary kinds of goods there may be a greater likelihood of
  26                confusion about the source or affiliation of the goods than
  27                otherwise.
  28
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   1        (3)   Similarity of Monster Energy’s and ISN’s Marks and Trade Dress.
   2              If the overall impression created by Monster Energy’s trademarks
   3              and trade dress in the marketplace is similar to that created by
   4              ISN’s trademarks and trade dress in appearance, sound, or
   5              meaning, there is a greater chance that consumers are likely to be
   6              confused by ISN’s use of its trademarks and trade dress.
   7              Similarities in appearance, sound or meaning weigh more heavily
   8              than differences in finding the marks are similar.
   9
  10        (4)   Actual Confusion. If use by ISN of Monster Energy’s trademarks
  11              or trade dress has led to instances of actual confusion, this strongly
  12              suggests a likelihood of confusion. However actual confusion is not
  13              required for a finding of likelihood of confusion. Even if actual
  14              confusion did not occur, ISN’s use of its trademarks or trade dress
  15              may still be likely to cause confusion. As you consider whether the
  16              trademarks or trade dress used by ISN creates for consumers a
  17              likelihood of confusion with Monster Energy’s trademarks or trade
  18              dress, you should weigh any instances of actual confusion against
  19              the opportunities for such confusion. If the instances of actual
  20              confusion have been relatively frequent, you may find that there
  21              has been substantial actual confusion. If, by contrast, there is a very
  22              large volume of sales, but only a few isolated instances of actual
  23              confusion you may find that there has not been substantial actual
  24              confusion.
  25
  26        (5)   ISN’s Intent. Knowing use by ISN of Monster Energy’s trademarks
  27              or trade dress to identify similar or related goods may strongly
  28              show an intent to derive benefit from the reputation of Monster
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   1              Energy’s trademarks or trade dress, suggesting an intent to cause a
   2              likelihood of confusion. On the other hand, even in the absence of
   3              proof that ISN acted knowingly, the use of Monster Energy’s
   4              trademarks or trade dress to identify similar or related goods may
   5              indicate a likelihood of confusion.
   6
   7        (6)   Marketing/Advertising Channels. If Monster Energy’s and ISN’s
   8              goods and services are likely to be sold in the same or similar
   9              stores or outlets, or advertised in similar media, this may increase
  10              the likelihood of confusion.
  11
  12        (7)   Consumer’s Degree of Care. The more sophisticated the potential
  13              buyers of the goods or the more costly the goods, the more careful
  14              and discriminating the reasonably prudent purchaser exercising
  15              ordinary caution may be. They may be less likely to be confused by
  16              similarities in Monster Energy’s and ISN’s trademarks and trade
  17              dress.
  18
  19        (8)   Product Line Expansion. When the parties’ products differ, you
  20              may consider how likely Monster Energy is to begin selling the
  21              products for which ISN is using Monster Energy’s trademarks or
  22              trade dress. If there is a strong possibility of expanding into the
  23              other party’s market, there is a greater likelihood of confusion.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.18; Dkt. No. 202 at 5 n.3 (citing Rearden LLP v. Rearden Commerce, 683
   3   F.3d 1190, 1212 (9th Cir. 2012); Waits v. Frito-Lay, 978 F.2d 1093, 1110 (9th
   4   Cir. 1992)).
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                                #:17345



   1                          JURY INSTRUCTION NO. 18
   2                          (WILLFUL INFRINGEMENT)
   3
   4         If you find that ISN infringed any of the Monster Energy’s trademarks or
   5   trade dress, you must also determine whether ISN acted willfully. Trademark
   6   infringement and trade dress infringement are considered willful if Monster
   7   Energy shows that ISN’s actions were willfully calculated to exploit the
   8   advantage of an established trademark or trade dress, or if Monster Energy
   9   shows that ISN recklessly disregarded Monster Energy’s trademark or trade
  10   dress rights. Infringement is not willful if ISN believed reasonably, and in good
  11   faith, that it was not infringing. Monster Energy has the burden of proving
  12   willfulness by a preponderance of the evidence.
  13         Question #9 on the Verdict Form asks you to decide whether ISN
  14   willfully infringed Monster Energy’s trademarks or trade dress.
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                                #:17346



   1   AUTHORITY: DC Comics v. Towle, 802 F.3d 1012, 1026 (9th Cir. 2015);
   2   Fishman Transducers v. Paul, 684 F.3d 187, 192-93 (1st Cir. 2012); Coach, Inc.
   3   v. Celco Customs Services Co., 2014 WL 12573411 at *19-*20 (C.D. Cal. June
   4   5, 2014); Hydramedia Corp. v. Hydra Media Grp., Inc., 2008 WL 11336118, at
   5   *3 (C.D. Cal. Dec. 29, 2008), aff’d, 392 F. App’x 522 (9th Cir. 2010);
   6   Evergreen Safety Council v. RSA Network Inc., 697 F.3d 1221, 1228 (9th Cir.
   7   2012) (“Continued use of a work even after one has been notified of his or her
   8   alleged infringement does not constitute willfulness so long as one believes
   9   reasonably, and in good faith, that he or she is not infringing.”).
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   1                         JURY INSTRUCTION NO. 20
   2                         (REASONABLE ROYALTY)
   3
   4        A reasonable royalty is the amount that someone wanting to use the
   5   trademark would have agreed to pay to the trademark owner and the trademark
   6   owner would have accepted.
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                                #:17348



   1   AUTHORITY: AIPLA Model Patent Jury Instructions, 10.2 (revised to apply to
   2   trademark context).
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   1                           JURY INSTRUCTION NO. 21
                       (REASONABLE ROYALTY DEFINITION)
   2
             A reasonable royalty is the royalty that would have resulted from a
   3
       hypothetical license negotiation between Monster Energy and ISN. Of course,
   4
       we know that they did not agree to a license and royalty payment. But, in order
   5
       to decide on the amount of reasonable royalty damages, you should assume that
   6
       the parties did negotiate a license just before the infringement began. This is
   7
       why it is called a “hypothetical” license negotiation. You should assume that
   8
       both parties to the hypothetical negotiation understood that the trademark was
   9
       valid and infringed and both were willing to enter into a license. You should
  10
       also presume that the parties had full knowledge of the facts and circumstances
  11
       surrounding the infringement at the time of the hypothetical negotiation.
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   1   AUTHORITY: AIPLA Model Patent Jury Instructions, 10.2.5.2 (revised to

   2   apply to trademark context); Apple Inc. et al v. Motorola Inc., et al., 757 F.3d

   3   1286 (Fed. Cir. 2014); LaserDynamics, Inc. v. Quanta Computer, Inc. et al, 694

   4   F.3d 51, 75 (Fed. Cir. 2012); Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d

   5   1292, 1311 (Fed. Cir. 2011); Fujifilm Corp. v. Benun, 605 F.3d 1366, 1372

   6   (Fed. Cir. 2010); Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324-25

   7   (Fed. Cir. 2009); Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572, 1579 (Fed. Cir.

   8   1996); Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1109-10 (Fed. Cir. 1996); Rite-

   9   Hite Corp. v. Kelley Co., 56 F.3d 1538, 1554 (Fed. Cir. 1995) (en banc); Wang

  10   Labs., Inc. v. Toshiba Corp., 993 F.2d 858, 870 (Fed. Cir. 1993).

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   1                           JURY INSTRUCTION NO. 23
   2                            (DEFENDANT’S PROFITS)
   3
   4         If you determine that ISN willfully infringed Monster Energy’s
   5   trademarks or trade dress, Monster Energy is entitled to any profits earned by
   6   ISN that are attributable to the infringement, which Monster Energy proves by a
   7   preponderance of the evidence. You may not, however, include in any award of
   8   profits any amount that you took into account in determining a reasonable
   9   royalty.
  10
  11         Profit is determined by deducting all expenses from gross revenue.
  12
  13         Gross revenue is all of ISN’s receipts from using the trademark or trade
  14   dress in the sale of a product. Monster Energy has the burden of proving ISN’s
  15   gross revenue by a preponderance of the evidence.
  16
  17         Expenses are all operating, overhead, and production costs incurred in
  18   producing the gross revenue. ISN has the burden of proving the expenses and
  19   the portion of the profit attributable to factors other than use of the infringed
  20   trademark by a preponderance of the evidence.
  21
  22         Unless you find that a portion of the profit from the sale of ISN’s
  23   products using the trademark or trade dress is attributable to factors other than
  24   use of the trademark, you should find that the total profit is attributable to the
  25   infringement.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
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   1                             JURY INSTRUCTION NO. 24
   2                               (PUNITIVE DAMAGES)
   3            The purposes of punitive damages are to punish a wrongdoer for the
   4   conduct that harmed the plaintiff and to discourage similar conduct in the future.
   5   You may award punitive damages against ISN only if Monster Energy proves
   6   by clear and convincing evidence that ISN infringed with malice, oppression, or
   7   fraud.
   8            “Malice” means conduct which is intended by ISN to cause harm to
   9   Monster Energy or despicable conduct which is carried on by ISN with a willful
  10   and conscious disregard of the rights or safety of other.
  11            “Oppression” means despicable conduct that subjects a person to cruel
  12   and unjust hardship in conscious disregard of that person’s rights.
  13            “Fraud” means an intentional misrepresentation, deceit, or concealment of
  14   a material fact known to ISN with the intention on the part of ISN of thereby
  15   depriving Monster Energy of property or legal rights or otherwise causing harm.
  16            When a party has the burden of proving any claim or defense by clear and
  17   convincing evidence, it means that the party must present evidence that leaves
  18   you with a firm belief or conviction that it is highly probable that the factual
  19   contentions of the claim or defense are true. This is a higher standard of proof
  20   than proof by a preponderance of the evidence, but it does not require proof
  21   beyond a reasonable doubt.
  22            If you find that Monster Energy has proved by clear and convincing
  23   evidence that ISN infringed with malice, oppression, or fraud toward Monster
  24   Energy, then you should answer Question #11 in favor of Monster. Otherwise,
  25   you should answer Question #11 in favor of ISN.
  26            If you find that punitive damages are appropriate, you must use reason in
  27   setting the amount. Punitive damages, if any, should be in an amount sufficient
  28   to fulfill their purposes but should not reflect bias, prejudice or sympathy
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   1   toward any party. In considering the amount of any punitive damages, consider
   2   the degree of reprehensibility of ISN’s conduct.   If you find that punitive
   3   damages are appropriate, you should enter the amount in response to Question
   4   #12.
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   1   AUTHORITY: Cal. Civ. Code § 3294; Ninth Circuit Manual of Model Civil
   2   Jury Instructions – Nos. 1.7 and 5.5 (modified).
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